                            UNITED STATES DISTRICT
                            UNITED STATES DISTRICT COURT
                                                   COURT
                          FOR
                          FOR THE DISTRICT OF
                              THE DISTRICT OF CONNECTICUT
                                              CONNECTICUT

 CP, on
 CP, on her  own behalf
         her own  behalf and
                         and on
                             on behalf
                                behalf of
                                       of all
                                          all
 others similarly
 others similarly situated,
                  situated,

                         Plaintiff,
                         Plaintiff,

         v.
         v.
                                                     Case No.
                                                     Case No. ___________________
 UNITEDHEALTHCARE INSURANCE
 UNITEDHEALTHCARE  INSURANCE
 COMPANY and
 COMPANY and UNITED
             UNITED BEHAVIORAL
                    BEHAVIORAL
 HEALTH,
 HEALTH,
                         Defendants.
                         Defendants.




                              CLASS ACTION COMPLAINT
                              CLASS ACTION COMPLAINT
        Plaintiff CP,
        Plaintiff CP, aa pseudonym'
                         pseudonym1 ("Plaintiff'),
                                    (“Plaintiff”), complains
                                                   complains as
                                                             as follows on her
                                                                follows on her own
                                                                               own behalf
                                                                                   behalf and
                                                                                          and on
                                                                                              on

behalf of
behalf of all
          all others
              others similarly
                     similarly situated,
                               situated, based
                                         based on
                                               on the
                                                  the best
                                                      best of
                                                           of her
                                                              her knowledge,
                                                                  knowledge, information and belief,
                                                                             information and belief,

formed after an
formed after an inquiry
                inquiry reasonable
                        reasonable under
                                   under the
                                         the circumstances
                                             circumstances by
                                                           by herself
                                                              herself and
                                                                      and her
                                                                          her undersigned
                                                                              undersigned

counsel, against
counsel, against Defendants
                 Defendants UnitedHealthcare
                            UnitedHealthcare Insurance
                                             Insurance Company
                                                       Company and
                                                               and United
                                                                   United Behavioral
                                                                          Behavioral Health
                                                                                     Health

(collectively referred
(collectively referred to
                       to herein
                          herein as
                                 as "United"
                                    “United” or
                                             or "Defendants,"
                                                “Defendants,” unless
                                                              unless otherwise
                                                                     otherwise indicated):
                                                                               indicated):

                                       INTRODUCTION
                                       INTRODUCTION
        1.      Telehealth services have
                Telehealth services have become
                                         become an
                                                an increasingly
                                                   increasingly important
                                                                important part
                                                                          part of
                                                                               of the
                                                                                  the health
                                                                                      health care
                                                                                             care

system in
system in recent years, especially
          recent years,            during the
                        especially during the COVID-19
                                              COVID-19 pandemic.
                                                       pandemic. According
                                                                 According to
                                                                           to aa July 19, 2021
                                                                                 July 19, 2021

report by
report by McKinsey
          McKinsey &
                   & Co.,
                     Co., "telehealth
                          “telehealth usage
                                      usage surged
                                            surged as
                                                   as consumers and providers
                                                      consumers and providers sought
                                                                              sought ways
                                                                                     ways to
                                                                                          to

safely access
safely access and
              and deliver healthcare,” with
                  deliver healthcare," with "overall
                                            “overall telehealth
                                                     telehealth utilization
                                                                utilization for
                                                                            for office
                                                                                office visits
                                                                                       visits and
                                                                                              and

outpatient care
outpatient care [being]
                [being] 78
                        78 times
                           times higher"
                                 higher” in April 2020
                                         in April 2020 than
                                                       than only
                                                            only two
                                                                 two months
                                                                     months earlier,
                                                                            earlier, in
                                                                                     in February
                                                                                        February

2020. As
2020. As of
         of July 2021, "telehealth
            July 2021, “telehealth utilization
                                   utilization [had]
                                               [had] stabilized
                                                     stabilized at
                                                                at levels
                                                                   levels 38x
                                                                          38x higher
                                                                              higher than
                                                                                     than before
                                                                                          before the
                                                                                                 the


1
  Because this
' Because    this action
                  action relates
                          relates to
                                  to Plaintiff's
                                     Plaintiff’s highly-sensitive
                                                 highly-sensitive personal
                                                                  personal health information, Plaintiff
                                                                           health information, Plaintiff
will file
will file aa motion
             motion for
                      for leave  to proceed
                          leave to  proceed anonymously
                                             anonymously asas soon
                                                               soon as
                                                                    as practicable
                                                                       practicable after
                                                                                   after Defendants
                                                                                         Defendants are
                                                                                                    are
served and
served  and appear.
              appear.
pandemic,” with
pandemic," with telehealth
                telehealth office
                           office and
                                  and outpatient
                                      outpatient visits
                                                 visits representing
                                                        representing from 13 to
                                                                     from 13 to 17
                                                                                17 percent
                                                                                   percent of
                                                                                           of

services across
services across all
                all specialties.
                    specialties.

        2.      This case arises
                This case arises from
                                 from United's
                                      United’s decision, in the
                                               decision, in the midst
                                                                midst of
                                                                      of this
                                                                         this dramatic
                                                                              dramatic rise
                                                                                       rise in
                                                                                            in

telehealth services
telehealth services during
                    during the
                           the COVID-19
                               COVID-19 pandemic,
                                        pandemic, to
                                                  to deviate
                                                     deviate from
                                                             from the
                                                                  the reimbursement rates for
                                                                      reimbursement rates for

such services
such services prescribed
              prescribed by
                         by the
                            the terms
                                terms of
                                      of its
                                         its healthcare
                                             healthcare plans,
                                                        plans, underpay
                                                               underpay benefits
                                                                        benefits due
                                                                                 due to
                                                                                     to its
                                                                                        its

members for
members for covered telehealth services,
            covered telehealth services, and
                                         and pad
                                             pad its
                                                 its own
                                                     own profits
                                                         profits with
                                                                 with the
                                                                      the difference.
                                                                          difference.

        3.      Plaintiff CP
                Plaintiff CP is
                             is aa participant
                                   participant in
                                               in aa health
                                                     health care plan sponsored
                                                            care plan sponsored by
                                                                                by her
                                                                                   her private
                                                                                       private

employer. The
employer. The plan
              plan is
                   is fully insured by
                      fully insured by United,
                                       United, which
                                               which issued
                                                     issued the
                                                            the plan
                                                                plan and
                                                                     and also
                                                                         also administers
                                                                              administers it.
                                                                                          it. The
                                                                                              The

plan is
plan is subject
        subject to
                to the
                   the Employee Retirement Income
                       Employee Retirement Income Security Act of
                                                  Security Act of 1974
                                                                  1974 ("ERISA"),
                                                                       (“ERISA”), 29
                                                                                  29 U.S.C.
                                                                                     U.S.C.

§§ 1001-1461.
§§ 1001-1461.

        4.      Plaintiff’s plan
                Plaintiff's plan provides
                                 provides coverage
                                          coverage for telehealth services,
                                                   for telehealth services, including
                                                                            including when
                                                                                      when they
                                                                                           they are
                                                                                                are

received from
received from an
              an out-of-network
                 out-of-network provider.
                                provider. The written terms
                                          The written terms of
                                                            of Plaintiffs'
                                                               Plaintiffs’ plan
                                                                           plan state
                                                                                state that
                                                                                      that the
                                                                                           the plan
                                                                                               plan

will pay
will pay benefits
         benefits for
                  for services
                      services from
                               from out-of-network
                                    out-of-network providers
                                                   providers equal
                                                             equal to
                                                                   to 110%
                                                                      110% of
                                                                           of the
                                                                              the amount
                                                                                  amount that
                                                                                         that

Medicare would
Medicare would pay
               pay for the same
                   for the same services.
                                services.

        5.      As of
                As of March
                      March 31, 2021, the
                            31, 2021, the Centers
                                          Centers for Medicare and
                                                  for Medicare and Medicaid
                                                                   Medicaid Services (“CMS”)
                                                                            Services ("CMS")

increased the
increased the amount
              amount it
                     it pays
                        pays for most telehealth
                             for most telehealth services.
                                                 services. United,
                                                           United, however,
                                                                   however, ignored this change
                                                                            ignored this change

and continued
and continued to
              to calculate
                 calculate and
                           and pay
                               pay benefits
                                   benefits for telehealth services
                                            for telehealth services from out-of-network providers
                                                                    from out-of-network providers

using the
using the lower
          lower rates indicated by
                rates indicated by the
                                   the superseded
                                       superseded CMS
                                                  CMS policy—including
                                                      policy—including when
                                                                       when it
                                                                            it paid
                                                                               paid benefits
                                                                                    benefits

under Plaintiff's
under Plaintiff’s plan
                  plan for
                       for Plaintiffs
                           Plaintiff’s covered telehealth psychotherapy
                                       covered telehealth psychotherapy appointments.
                                                                        appointments. As
                                                                                      As aa result,
                                                                                            result,

United underpaid
United           the benefits
       underpaid the benefits due to Plaintiff
                              due to Plaintiff under
                                               under her
                                                     her plan,
                                                         plan, leaving her responsible
                                                               leaving her responsible to
                                                                                       to pay
                                                                                          pay her
                                                                                              her

provider the
provider the difference.
             difference. Meanwhile,
                         Meanwhile, United
                                    United pocketed
                                           pocketed the
                                                    the benefits
                                                        benefits it did not
                                                                 it did not pay
                                                                            pay Plaintiff,
                                                                                Plaintiff, adding
                                                                                           adding

them to
them to its
        its exorbitant
            exorbitant profits.
                       profits.




                                                   22
       6.      In so doing,
               In so doing, United
                            United unreasonably
                                   unreasonably interpreted
                                                interpreted the
                                                            the written
                                                                written terms
                                                                        terms of
                                                                              of Plaintiff's
                                                                                 Plaintiff’s plan,
                                                                                             plan,

violated ERISA,
violated        and breached
         ERISA, and breached the
                             the fiduciary
                                 fiduciary duties of care,
                                           duties of care, prudence,
                                                           prudence, and
                                                                     and loyalty
                                                                         loyalty it
                                                                                 it owes
                                                                                    owes to
                                                                                         to

Plaintiff when
Plaintiff when carrying
               carrying out
                        out its
                            its responsibilities
                                responsibilities for administering Plaintiff's
                                                 for administering Plaintiff’s plan.
                                                                               plan.

        7.     Moreover, because
               Moreover, because United
                                 United follows the same
                                        follows the same policies
                                                         policies and
                                                                  and practices
                                                                      practices when
                                                                                when

calculating benefits
calculating benefits for covered services
                     for covered services under
                                          under all
                                                all the
                                                    the employer-sponsored
                                                        employer-sponsored plans
                                                                           plans it administers,
                                                                                 it administers,

its failure
its failure to
            to apply
               apply the
                     the increase
                         increase in
                                  in Medicare's
                                     Medicare’s allowed
                                                allowed rates
                                                        rates for telehealth services
                                                              for telehealth services similarly
                                                                                      similarly

injured many
injured many others
             others just
                    just like
                         like Plaintiff.
                              Plaintiff.

       8.      Plaintiff, accordingly,
               Plaintiff, accordingly, brings
                                       brings this
                                              this Complaint,
                                                   Complaint, on
                                                              on her
                                                                 her own
                                                                     own behalf
                                                                         behalf and
                                                                                and on
                                                                                    on behalf
                                                                                       behalf of
                                                                                              of

all the
all the other
        other ERISA plan members
              ERISA plan members injured
                                 injured by
                                         by United's
                                            United’s self-serving
                                                     self-serving telehealth
                                                                  telehealth reimbursement
                                                                             reimbursement

policy, to
policy, to put
           put aa stop
                  stop to
                       to United's
                          United’s illegal
                                   illegal refusal to follow
                                           refusal to        its plans'
                                                      follow its plans’ terms
                                                                        terms and
                                                                              and to
                                                                                  to disgorge
                                                                                     disgorge from
                                                                                              from

United the
United the benefit
           benefit payments
                   payments it
                            it unjustly
                               unjustly and
                                        and illegally
                                            illegally retained.
                                                      retained.

                                           THE
                                           THE PARTIES
                                               PARTIES

       9.      Plaintiff CP
               Plaintiff CP is
                            is aa participant
                                  participant in
                                              in aa fully-insured
                                                    fully-insured employee welfare benefit
                                                                  employee welfare benefit plan
                                                                                           plan

sponsored by
sponsored by her employer and
             her employer and issued and underwritten
                              issued and underwritten by
                                                      by Defendant
                                                         Defendant UnitedHealthcare
                                                                   UnitedHealthcare

Insurance Company ("Plaintiff's
Insurance Company (“Plaintiff’s Plan"
                                Plan” or
                                      or "the
                                         “the Plan").
                                              Plan”). Plaintiff
                                                      Plaintiff resides
                                                                resides in Chicago, Illinois.
                                                                        in Chicago, Illinois.

       10.     Defendant UnitedHealthcare
               Defendant UnitedHealthcare Insurance Company ("UHIC")
                                          Insurance Company (“UHIC”) is
                                                                     is aa Connecticut
                                                                           Connecticut

corporation, organized
corporation, organized and
                       and existing
                           existing pursuant
                                    pursuant to
                                             to the
                                                the laws of the
                                                    laws of the State of Connecticut,
                                                                State of Connecticut, with
                                                                                      with its
                                                                                           its

principal place
principal place of
                of business
                   business in Hartford, Connecticut.
                            in Hartford, Connecticut.

       11.     Defendant United
               Defendant United Behavioral
                                Behavioral Health
                                           Health ("UBH")
                                                  (“UBH”) is
                                                          is aa California
                                                                California corporation,
                                                                           corporation,

organized and
organized and existing
              existing pursuant
                       pursuant to
                                to the
                                   the laws of the
                                       laws of the State of California,
                                                   State of California, with
                                                                        with its principal place
                                                                             its principal place of
                                                                                                 of

business in
business in San Francisco, California.
            San Francisco, California. UBH
                                       UBH operates
                                           operates under
                                                    under the
                                                          the brand
                                                              brand name,
                                                                    name, "Optum."
                                                                          “Optum.”

       12.     UHIC and
               URIC and UBH
                        UBH are
                            are both
                                both fully-owned
                                     fully-owned and
                                                 and controlled
                                                     controlled subsidiaries
                                                                subsidiaries of
                                                                             of UnitedHealth
                                                                                UnitedHealth

Group Incorporated
Group Incorporated ("UHG").
                   (“UHG”).




                                                  33
        13.     UHIC is
                UHIC is the
                        the underwriter
                            underwriter of
                                        of and
                                           and claims administrator for
                                               claims administrator for Plaintiff's
                                                                        Plaintiff’s Plan.
                                                                                    Plan. UHIC
                                                                                          UHIC

wrote and
wrote and issued
          issued the
                 the Certificate
                     Certificate of
                                 of Coverage
                                    Coverage for the Plan,
                                             for the Plan, which
                                                           which names
                                                                 names UHIC
                                                                       UHIC as
                                                                            as the
                                                                               the Claims
                                                                                   Claims

Fiduciary for
Fiduciary     the Plan.
          for the Plan.

        14.     As the
                As the claims administrator of
                       claims administrator of Plaintiff's
                                               Plaintiff’s Plan,
                                                           Plan, UHIC
                                                                 UHIC has
                                                                      has the
                                                                          the authority
                                                                              authority and
                                                                                        and

responsibility to
responsibility to interpret the written
                  interpret the written terms
                                        terms of
                                              of the
                                                 the Plan,
                                                     Plan, make
                                                           make final and binding
                                                                final and binding coverage
                                                                                  coverage

determinations pursuant
determinations pursuant to
                        to those
                           those Plan
                                 Plan terms,
                                      terms, calculate
                                             calculate the
                                                       the amount
                                                           amount of
                                                                  of benefits
                                                                     benefits due
                                                                              due under
                                                                                  under the
                                                                                        the Plan
                                                                                            Plan

terms for
terms     covered services,
      for covered services, and
                            and issue benefit payments
                                issue benefit payments on
                                                       on behalf
                                                          behalf of
                                                                 of the
                                                                    the Plan.
                                                                        Plan. As
                                                                              As such,
                                                                                 such, UHIC
                                                                                       UHIC is
                                                                                            is aa

fiduciary under ERISA.
fiduciary under ERISA.

        15.     UHIC has
                UHIC has delegated
                         delegated its
                                   its responsibility for administering
                                       responsibility for administering mental
                                                                        mental health
                                                                               health and
                                                                                      and

substance use
substance use disorder benefits under
              disorder benefits under employer-sponsored
                                      employer-sponsored health
                                                         health benefit
                                                                benefit plans
                                                                        plans to
                                                                              to its corporate
                                                                                 its corporate

affiliate, UBH.
affiliate, UBH. As
                As such,
                   such, whenever
                         whenever aa request
                                     request for
                                             for benefits
                                                 benefits pertains
                                                          pertains to
                                                                   to mental
                                                                      mental health
                                                                             health or
                                                                                    or substance
                                                                                       substance

use disorder
use disorder treatment,
             treatment, UBH
                        UBH interprets
                            interprets the
                                       the written
                                           written terms
                                                   terms of
                                                         of the
                                                            the plan,
                                                                plan, makes
                                                                      makes final
                                                                            final and
                                                                                  and binding
                                                                                      binding

coverage determinations,
coverage determinations, calculates
                         calculates benefits
                                    benefits due
                                             due for
                                                 for covered
                                                     covered services,
                                                             services, and
                                                                       and issues
                                                                           issues benefit
                                                                                  benefit

payments on
payments on behalf
            behalf of
                   of the
                      the plan.
                          plan. UBH,
                                UBH, therefore,
                                     therefore, is also aa fiduciary
                                                is also              under ERISA.
                                                           fiduciary under ERISA.

                                JURISDICTION AND
                                JURISDICTION AND VENUE
                                                 VENUE
        16.     This Court has
                This Court has subject
                               subject matter
                                       matter jurisdiction
                                              jurisdiction under 28 U.S.C.
                                                           under 28 U.S.C. §
                                                                           § 1331
                                                                             1331 (federal
                                                                                  (federal

question jurisdiction)
question jurisdiction) and
                       and 29
                           29 U.S.C.
                              U.S.C. §
                                     § 1132(e)
                                       1132(e) (ERISA).
                                               (ERISA).

        17.     Venue is
                Venue is appropriate
                         appropriate in this District.
                                     in this District. Defendant
                                                       Defendant UHIC
                                                                 UHIC is
                                                                      is headquartered
                                                                         headquartered in this
                                                                                       in this

District, administers
District, administers plans
                      plans here,
                            here, and
                                  and conducts
                                      conducts significant
                                               significant operations
                                                           operations here.
                                                                      here.

        18.     Personal jurisdiction
                Personal jurisdiction over
                                      over Defendant
                                           Defendant UBH
                                                     UBH exists with this
                                                         exists with this Court
                                                                          Court because
                                                                                because UBH
                                                                                        UBH

acts as
acts as aa fiduciary on behalf
           fiduciary on behalf of
                               of residents
                                  residents of
                                            of this
                                               this district.
                                                    district.




                                                    4
                                                    4
                                 STATEMENT OF FACTS
                                 STATEMENT OF FACTS

       19.     Telehealth services are
               Telehealth services are any
                                       any healthcare
                                           healthcare services
                                                      services rendered via the
                                                               rendered via the internet
                                                                                internet or
                                                                                         or

through aa telecommunication
through    telecommunication system
                             system when
                                    when the
                                         the healthcare
                                             healthcare professional
                                                        professional and
                                                                     and the
                                                                         the patient
                                                                             patient are
                                                                                     are not
                                                                                         not

located at the
located at the same
               same site.
                    site.

       20.     The Centers for
               The Centers     Medicare and
                           for Medicare and Medicaid
                                            Medicaid Services (“CMS”) and
                                                     Services ("CMS") and the
                                                                          the American
                                                                              American

Medical Association
Medical Association ("AMA")
                    (“AMA”) both
                            both recognize
                                 recognize aa wide
                                              wide variety
                                                   variety of
                                                           of services
                                                              services that
                                                                       that can
                                                                            can effectively be
                                                                                effectively be

provided through
provided through telehealth,
                 telehealth, such
                             such as
                                  as assessments
                                     assessments of
                                                 of new
                                                    new or
                                                        or established patients, follow-up
                                                           established patients, follow-up care,
                                                                                           care,

medication management,
medication management, physical,
                       physical, speech,
                                 speech, and
                                         and occupational
                                             occupational therapy,
                                                          therapy, and
                                                                   and outpatient
                                                                       outpatient mental
                                                                                  mental

health and
health and addiction
           addiction services
                     services like psychotherapy.
                              like psychotherapy.

       21 .    Under United's
               Under United’s telehealth
                              telehealth reimbursement
                                         reimbursement policy,
                                                       policy, which
                                                               which it
                                                                     it applies
                                                                        applies to
                                                                                to all
                                                                                   all the
                                                                                       the plans
                                                                                           plans

it administers,
it administers, scores
                scores of
                       of telehealth
                          telehealth services
                                     services are
                                              are eligible
                                                  eligible for
                                                           for reimbursement,
                                                               reimbursement, including all
                                                                              including all

telehealth services
telehealth services recognized
                    recognized by
                               by CMS
                                  CMS and
                                      and the
                                          the AMA.
                                              AMA.



I.
I.     Benefit Calculations
       Benefit Calculations Under
                            Under Plaintiff’s
                                  Plaintiff's Plan Are Tied
                                              Plan Are Tied to
                                                            to Medicare Rates
                                                               Medicare Rates

       22.     The written terms
               The written terms of
                                 of Plaintiffs
                                    Plaintiff’s Plan
                                                Plan state
                                                     state that
                                                           that the
                                                                the Plan
                                                                    Plan covers
                                                                         covers enumerated
                                                                                enumerated

healthcare services
healthcare services ("covered
                    (“covered services"),
                              services”), whether
                                          whether they
                                                  they are
                                                       are provided
                                                           provided by
                                                                    by healthcare
                                                                       healthcare professionals
                                                                                  professionals

who are
who are members
        members of
                of United's
                   United’s network
                            network (i.e.,
                                    (i.e., "in-network"
                                           “in-network” providers)
                                                        providers) or
                                                                   or professionals
                                                                      professionals who
                                                                                    who are
                                                                                        are not
                                                                                            not

members of
members of the
           the network
               network (i.e.,
                       (i.e., "out-of-network,"
                              “out-of-network,” or
                                                or "ONET"
                                                   “ONET” providers).
                                                          providers).

       23.     The Plan states
               The Plan states that
                               that "Allowed
                                    “Allowed Amounts"
                                             Amounts” are
                                                      are the
                                                          the amounts
                                                              amounts United
                                                                      United will
                                                                             will pay
                                                                                  pay in
                                                                                      in

benefits for
benefits for covered services.
             covered services.

       24.     For covered
               For covered services
                           services received
                                    received from
                                             from ONET
                                                  ONET providers,
                                                       providers, the
                                                                  the Plan
                                                                      Plan states
                                                                           states that
                                                                                  that

“Allowed Amounts
"Allowed Amounts are
                 are determined
                     determined based
                                based on
                                      on 110%
                                         110% of
                                              of the
                                                 the published
                                                     published rates allowed by
                                                               rates allowed by the
                                                                                the Centers
                                                                                    Centers

for Medicare and
for Medicare and Medicaid
                 Medicaid Services (CMS) for
                          Services (CMS) for the
                                             the same
                                                 same or
                                                      or similar
                                                         similar service
                                                                 service within
                                                                         within the
                                                                                the geographic
                                                                                    geographic

market.”
market."


                                                  5
                                                  5
        25.     The Plan further
                The Plan further states
                                 states that
                                        that United
                                             United "update[s]
                                                    “update[s] the
                                                               the CMS
                                                                   CMS published
                                                                       published rate data on
                                                                                 rate data on aa

regular basis
regular basis when
              when updated
                   updated data
                           data from
                                from CMS
                                     CMS becomes
                                         becomes available,"
                                                 available,” adding
                                                             adding that
                                                                    that "[t]hese
                                                                         “[t]hese updates
                                                                                  updates are
                                                                                          are

typically put
typically put in place within
              in place within 30-90
                              30-90 days after CMS
                                    days after CMS updates
                                                   updates its
                                                           its data."
                                                               data.”

        26.     Plaintiff’s Plan
                Plaintiff's Plan further
                                 further provides
                                         provides that
                                                  that Plaintiff
                                                       Plaintiff remains
                                                                 remains liable
                                                                         liable to
                                                                                to her
                                                                                   her healthcare
                                                                                       healthcare

provider for
provider for any
             any ONET
                 ONET charges
                      charges that
                              that the
                                   the Plan
                                       Plan does not pay.
                                            does not pay. Thus,
                                                          Thus, the
                                                                the less the Plan
                                                                    less the Plan pays
                                                                                  pays in
                                                                                       in

benefits for
benefits for aa covered
                covered service
                        service by
                                by an
                                   an ONET
                                      ONET provider,
                                           provider, the
                                                     the more
                                                         more money
                                                              money Plaintiff
                                                                    Plaintiff owes
                                                                              owes to
                                                                                   to the
                                                                                      the

provider for
provider for that
             that covered
                  covered service.
                          service.



II.
II.     CMS’s
        CMS's Published Rates for
              Published Rates     Telehealth Services
                              for Telehealth          Increased as
                                             Services Increased    of April
                                                                as of April 2020
                                                                            2020

        27.     CMS publishes
                CMS publishes aa Physician
                                 Physician Fee
                                           Fee Schedule setting forth
                                               Schedule setting forth the
                                                                      the rates it allows
                                                                          rates it allows for
                                                                                          for

various healthcare
various            services.
        healthcare services.

        28.     As reflected
                As reflected in
                             in the
                                the Physician
                                    Physician Fee
                                              Fee Schedule, CMS generally
                                                  Schedule, CMS generally pays
                                                                          pays providers
                                                                               providers

different amounts
different amounts for outpatient professional
                  for outpatient professional services,
                                              services, depending on whether
                                                        depending on whether the
                                                                             the services
                                                                                 services are
                                                                                          are

performed in
performed in the
             the provider's
                 provider’s office
                            office or
                                   or in
                                      in aa facility, such as
                                            facility, such as aa hospital.
                                                                 hospital. If
                                                                           If the
                                                                              the service
                                                                                  service is
                                                                                          is provided
                                                                                             provided in
                                                                                                      in

aa facility,
   facility, CMS
             CMS pays
                 pays the
                      the provider
                          provider aa lower
                                      lower professional
                                            professional fee
                                                         fee (hereafter,
                                                             (hereafter, the
                                                                         the "Facility-Based
                                                                             “Facility-Based Rate"),
                                                                                             Rate”),

but also
but also pays
         pays the
              the venue
                  venue at
                        at which
                           which the
                                 the service
                                     service is
                                             is provided
                                                provided aa separate
                                                            separate facility
                                                                     facility fee. If the
                                                                              fee. If the service
                                                                                          service is
                                                                                                  is

provided in
provided in an
            an office,
               office, CMS
                       CMS pays
                           pays the
                                the provider
                                    provider aa higher
                                                higher professional
                                                       professional fee (hereafter, the
                                                                    fee (hereafter, the "Office-
                                                                                        “Office-

Based Rate")
Based Rate”) and
             and does
                 does not
                      not pay
                          pay anyone
                              anyone aa separate
                                        separate facility
                                                 facility fee.
                                                          fee.

        29.     Prior to
                Prior to the
                         the COVID-19
                             COVID-19 pandemic,
                                      pandemic, CMS's
                                                CMS’s policies
                                                      policies stated
                                                               stated that
                                                                      that providers
                                                                           providers who
                                                                                     who

offered services
offered services through
                 through telehealth
                         telehealth would
                                    would be
                                          be paid
                                             paid the
                                                  the lower Facility-Based Rate
                                                      lower Facility-Based Rate for
                                                                                for those
                                                                                    those

services, even
services, even if the provider
               if the provider ordinarily
                               ordinarily performed
                                          performed the
                                                    the service
                                                        service from
                                                                from an
                                                                     an office
                                                                        office and
                                                                               and not
                                                                                   not aa facility.
                                                                                          facility.

        30.     Effective March 31,
                Effective March 31, 2020,
                                    2020, however,
                                          however, CMS
                                                   CMS modified
                                                       modified its policy in
                                                                its policy    light of
                                                                           in light of the
                                                                                       the

COVID-19 pandemic.
COVID-19 pandemic. Under
                   Under the
                         the current
                             current CMS
                                     CMS rate
                                         rate policy,
                                              policy, if
                                                      if aa provider
                                                            provider ordinarily
                                                                     ordinarily performs
                                                                                performs aa

given service
given service (i.e.,
              (i.e., in
                     in person)
                        person) in
                                in his
                                   his or
                                       or her
                                          her office,
                                              office, the
                                                      the higher
                                                          higher Office-Based
                                                                 Office-Based Rate
                                                                              Rate applies
                                                                                   applies to
                                                                                           to


                                                    6
                                                    6
telehealth claims
telehealth claims for that service.
                  for that service. The
                                    The lower Facility-Based Rate
                                        lower Facility-Based Rate only
                                                                  only applies
                                                                       applies to
                                                                               to telehealth
                                                                                  telehealth

services if
services if the
            the provider
                provider ordinarily
                         ordinarily performs
                                    performs the
                                             the service
                                                 service in
                                                         in aa hospital
                                                               hospital or
                                                                        or other
                                                                           other facility.
                                                                                 facility.

        31.     CMS described
                CMS           its change
                    described its change in
                                         in policy
                                            policy as
                                                   as follows:
                                                      follows:

       [T]he assumptions
       [T]he    assumptions that that have
                                        have supported
                                                supported payment
                                                              payment of   of telehealth
                                                                               telehealth services
                                                                                             services at  at the
                                                                                                             the
       [Physician Fee
       [Physician    Fee Schedule]        facility rate
                           Schedule] facility            would not
                                                   rate would     not apply
                                                                        apply in
                                                                               in many
                                                                                  many circumstances
                                                                                         circumstances for   for
       services furnished
       services   furnished during
                               during thethe [Public
                                              [Public Health
                                                       Health Emergency         (“PHE”)] for
                                                                Emergency ("PHE")]               the COVID-
                                                                                            for the   COVID-
       19 pandemic.
       19  pandemic. Instead,
                         Instead, we we believe
                                          believe that,
                                                   that, as
                                                         as more
                                                             more telehealth
                                                                     telehealth services
                                                                                  services are
                                                                                            are furnished
                                                                                                  furnished toto
       patients wherever
       patients  wherever theythey are
                                     are located
                                          located rather   than in
                                                   rather than    in statutory
                                                                     statutory originating
                                                                                 originating sites,
                                                                                               sites, it  would
                                                                                                       it would
       be appropriate
       be  appropriate to  to assume
                                assume that that the
                                                 the relative
                                                      relative resource
                                                                  resource cost
                                                                              cost ofof services
                                                                                        services furnished
                                                                                                     furnished
       through telehealth
       through   telehealth should
                               should be be reflected
                                             reflected in  the payment
                                                        in the  payment to  to the
                                                                               the furnishing    physician or
                                                                                   furnishing physician       or
       practitioner as
       practitioner   as if
                          if they
                             they furnished
                                     furnished thethe service
                                                      service in in person,
                                                                     person, and
                                                                               and to
                                                                                    to assign
                                                                                       assign thethe payment
                                                                                                      payment
       rate that
       rate  that ordinarily
                  ordinarily would
                                would have
                                         have been
                                                been paid
                                                      paid under
                                                             under the
                                                                     the [Physician
                                                                          [Physician Fee
                                                                                       Fee Schedule]
                                                                                             Schedule] werewere
       the services
       the  services furnished
                      furnished in   in person.
                                         person. For
                                                   For example,
                                                        example, aa physician
                                                                        physician practicing
                                                                                    practicing in     an office
                                                                                                  in an   office
       setting who,
       setting   who, under
                         under the the PHE
                                         PHE forfor the
                                                     the COVID-19
                                                           COVID-19 pandemic,
                                                                            pandemic, seessees patients
                                                                                                 patients viavia
       telehealth instead
       telehealth   instead ofof in
                                  in person
                                      person would
                                               would be be paid
                                                            paid atat the
                                                                      the non-facility,
                                                                           non-facility, or
                                                                                          or office,
                                                                                              office, rate
                                                                                                        rate for
                                                                                                             for
       these services.
       these   services. Similarly,
                          Similarly, aa physician
                                            physician whowho typically
                                                               typically sees
                                                                            sees patients
                                                                                  patients in   an outpatient
                                                                                            in an   outpatient
       provider-based clinic
       provider-based     clinic ofof aa hospital
                                         hospital would
                                                   would be be paid
                                                                paid the
                                                                       the facility rate for
                                                                           facility rate      services newly
                                                                                         for services     newly
       furnished   via telehealth.
       furnished via    telehealth.

       To
       To implement   this change
          implement this   change onon an
                                       an interim
                                          interim basis,
                                                   basis, we
                                                          we are
                                                              are instructing
                                                                  instructing physicians
                                                                              physicians and
                                                                                          and
       practitioners who
       practitioners who bill
                           bill for
                                for Medicare
                                     Medicare telehealth
                                               telehealth services
                                                           services to
                                                                     to report
                                                                        report the
                                                                               the [Place
                                                                                    [Place of
                                                                                           of
       Service]  code that
       Service] code  that would
                           would have
                                    have been
                                         been reported
                                               reported had
                                                         had the
                                                              the service
                                                                   service been
                                                                           been furnished
                                                                                 furnished in
                                                                                           in
       person.
       person.

85 Fed. Reg.
85 Fed. Reg. 19230
             19230 (April
                   (April 6,
                          6, 2020).
                             2020).

        32.     This CMS policy
                This CMS policy remains
                                remains in
                                        in effect as of
                                           effect as of the
                                                        the date
                                                            date of
                                                                 of this
                                                                    this Complaint.
                                                                         Complaint.



III.
III.    United’s
        United's Failure to Apply
                 Failure to Apply Medicare Rates Following
                                  Medicare Rates           the Change
                                                 Following the        in CMS
                                                               Change in CMS Policy
                                                                             Policy

        33.     Plaintiff regularly
                Plaintiff regularly receives
                                    receives outpatient
                                             outpatient mental
                                                        mental health
                                                               health treatment
                                                                      treatment services
                                                                                services from
                                                                                         from her
                                                                                              her

ONET psychotherapist-specifically,
ONET psychotherapist—specifically, 45-minute
                                   45-minute sessions
                                             sessions of
                                                      of psychotherapy.
                                                         psychotherapy. Prior
                                                                        Prior to
                                                                              to July 2020,
                                                                                 July 2020,

these services
these services were
               were provided
                    provided in her psychotherapist's
                             in her psychotherapist’s office,
                                                      office, and
                                                              and United
                                                                  United appropriately
                                                                         appropriately paid
                                                                                       paid

benefits for
benefits for these
             these services
                   services under
                            under Plaintiff's
                                  Plaintiff’s plan
                                              plan based
                                                   based on
                                                         on the
                                                            the higher
                                                                higher Office-Based
                                                                       Office-Based Rate
                                                                                    Rate on
                                                                                         on the
                                                                                            the

CMS Physician
CMS Physician Fee
              Fee Schedule.
                  Schedule.




                                                          7
                                                          7
       34.     After the
               After the COVID-19
                         COVID-19 pandemic
                                  pandemic led
                                           led to
                                               to widespread
                                                  widespread business
                                                             business closures
                                                                      closures in March
                                                                               in March

2020, however,
2020, however, Plaintiffs
               Plaintiff’s psychotherapist
                           psychotherapist began
                                           began providing
                                                 providing therapy
                                                           therapy to
                                                                   to Plaintiff—exactly
                                                                      Plaintiff—exactly the
                                                                                        the

same service
same service Plaintiff
             Plaintiff had
                       had been
                           been receiving
                                receiving in person—via telehealth.
                                          in person—via telehealth. Although
                                                                    Although United
                                                                             United initially
                                                                                    initially

correctly calculated
correctly calculated the
                     the Allowed
                         Allowed Amount
                                 Amount for
                                        for these
                                            these services
                                                  services based
                                                           based on
                                                                 on Medicare's
                                                                    Medicare’s published
                                                                               published

Office-Based Rates,
Office-Based Rates, by
                    by July 2020, United
                       July 2020, United saw
                                         saw an
                                             an opportunity
                                                opportunity to
                                                            to save
                                                               save itself
                                                                    itself money
                                                                           money by
                                                                                 by ignoring
                                                                                    ignoring

the Medicare
the Medicare rate change and
             rate change and instead
                             instead applying
                                     applying the
                                              the lower Facility-Based Rate.
                                                  lower Facility-Based Rate.

       35.     In 2020, the
               In 2020, the CMS
                            CMS Physician
                                Physician Fee
                                          Fee Schedule
                                              Schedule reflected an Office-Based
                                                       reflected an Office-Based Rate
                                                                                 Rate of
                                                                                      of

$98.56 and
$98.56 and aa Facility-Based
              Facility-Based Rate
                             Rate of
                                  of $88.81
                                     $88.81 for
                                            for aa 45-minute
                                                   45-minute session
                                                             session of
                                                                     of psychotherapy
                                                                        psychotherapy in
                                                                                      in the
                                                                                         the

Chicago area.
Chicago area. Under
              Under the
                    the current
                        current CMS
                                CMS reimbursement policy in
                                    reimbursement policy in effect since March
                                                            effect since March 31,
                                                                               31, 2020,
                                                                                   2020, the
                                                                                         the

Medicare-allowed telehealth
Medicare-allowed telehealth rate
                            rate for
                                 for these
                                     these services
                                           services was
                                                    was the
                                                        the higher,
                                                            higher, Office-Based
                                                                    Office-Based Rate.
                                                                                 Rate.

       36.     Therefore, according to
               Therefore, according to Plaintiff's
                                       Plaintiff’s Plan,
                                                   Plan, United
                                                         United should
                                                                should have
                                                                       have calculated the
                                                                            calculated the

Allowed Amount
Allowed Amount at
               at 110%
                  110% of
                       of the
                          the published
                              published Medicare
                                        Medicare Office-Based
                                                 Office-Based Rate—equal
                                                              Rate—equal to
                                                                         to $108.42—for
                                                                            $108.42-for

each session
each session of
             of psychotherapy
                psychotherapy Plaintiff
                              Plaintiff received via telehealth.
                                        received via telehealth. Instead,
                                                                 Instead, for
                                                                          for each
                                                                              each of
                                                                                   of the
                                                                                      the 19
                                                                                          19

telehealth sessions
telehealth sessions Plaintiff
                    Plaintiff received from July
                              received from      2020 through
                                            July 2020 through December
                                                              December 2020,
                                                                       2020, United
                                                                             United only
                                                                                    only

allowed $97.69
allowed $97.69 per
               per session,
                   session, which
                            which is
                                  is exactly
                                     exactly 110%
                                             110% of
                                                  of the
                                                     the published
                                                         published Facility-Based
                                                                   Facility-Based Rate.
                                                                                  Rate.

       37.     By using
               By using the
                        the Facility-Based
                            Facility-Based Rate
                                           Rate rather
                                                rather than
                                                       than the
                                                            the Office-Based
                                                                Office-Based Rate
                                                                             Rate to
                                                                                  to calculate
                                                                                     calculate

the benefits
the benefits due
             due to
                 to Plaintiff
                    Plaintiff under
                              under her
                                    her plan,
                                        plan, United
                                              United shortchanged
                                                     shortchanged the
                                                                  the Allowed
                                                                      Allowed Amount
                                                                              Amount by
                                                                                     by $10.73
                                                                                        $10.73

per session
per session during
            during this
                   this period,
                        period, and
                                and consequently,
                                    consequently, it
                                                  it underpaid
                                                     underpaid the
                                                               the benefits
                                                                   benefits due
                                                                            due to
                                                                                to Plaintiff.
                                                                                   Plaintiff.

       38.     Although the
               Although the published
                            published Medicare
                                      Medicare rates
                                               rates changed
                                                     changed in
                                                             in 2021
                                                                2021 and
                                                                     and again
                                                                         again in
                                                                               in 2022,
                                                                                  2022,

United has
United has continued to underpay
           continued to underpay the
                                 the benefits
                                     benefits due to Plaintiff
                                              due to Plaintiff by
                                                               by using
                                                                  using the
                                                                        the Facility-Based
                                                                            Facility-Based Rate
                                                                                           Rate to
                                                                                                to

calculate the
calculate the Allowed
              Allowed Amount.
                      Amount.

       39.     Plaintiff filed
               Plaintiff filed an
                               an administrative
                                  administrative appeal
                                                 appeal with
                                                        with United
                                                             United by
                                                                    by letter
                                                                       letter dated November 22,
                                                                              dated November 22,

2021, challenging
2021, challenging the
                  the reimbursement
                      reimbursement rates allowed by
                                    rates allowed by United
                                                     United for the psychotherapy
                                                            for the psychotherapy services
                                                                                  services she
                                                                                           she




                                                 8
                                                 8
received via
received via telehealth
             telehealth from
                        from July 8, 2020
                             July 8, 2020 through
                                          through October
                                                  October 12,
                                                          12, 2021,
                                                              2021, based
                                                                    based on
                                                                          on the
                                                                             the discrepancies
                                                                                 discrepancies

set out
set out above
        above between
              between the
                      the Allowed
                          Allowed Amounts
                                  Amounts specified
                                          specified by
                                                    by Plaintiff's
                                                       Plaintiff’s written
                                                                   written plan
                                                                           plan terms
                                                                                terms and
                                                                                      and the
                                                                                          the

amounts United
amounts United calculated
               calculated and
                          and the
                              the benefits
                                  benefits it paid.
                                           it paid.

       40.      Plaintiff asked
                Plaintiff asked United
                                United to
                                       to reprocess her claims
                                          reprocess her claims and
                                                               and issue
                                                                   issue the
                                                                         the outstanding
                                                                             outstanding payments,
                                                                                         payments,

plus interest
plus interest due to the
              due to the late
                         late payment.
                              payment. Plaintiff
                                       Plaintiff also
                                                 also requested
                                                      requested documentation
                                                                documentation showing
                                                                              showing how
                                                                                      how

United calculated
United            the Allowed
       calculated the Allowed Amount
                              Amount for her claims.
                                     for her claims.

       41.      United denied
                United        Plaintiff’s appeal
                       denied Plaintiff's appeal by
                                                 by letter dated December
                                                    letter dated December 14,
                                                                          14, 2021.
                                                                              2021. The letter, on
                                                                                    The letter, on

UBH letterhead,
UBH letterhead, reported
                reported that
                         that "insurance
                              “insurance coverage
                                         coverage is
                                                  is provided
                                                     provided by
                                                              by UnitedHealthcare
                                                                 UnitedHealthcare Insurance
                                                                                  Insurance

Company” and
Company" and that
             that UBH
                  UBH was
                      was "responsible
                          “responsible for
                                       for making
                                           making benefit
                                                  benefit coverage determinations for
                                                          coverage determinations for

mental health...
mental health… services
                 services that
                          that are
                               are provided
                                   provided by"
                                            by” the
                                                the Plan.
                                                    Plan.

       42.      In explaining the
                In explaining the denial,
                                  denial, United
                                          United stated:
                                                 stated:

       Claims is
       Claims     upholding their
               is upholding  their payment
                                   payment forfor date(s)
                                                  date(s) of
                                                          of service
                                                             service 07/08/2020
                                                                       07/08/2020 through
                                                                                    through
       10/21/2021 with
       10/21/2021   with [Plaintiffs
                         [Plaintiff’s psychotherapist].
                                      psychotherapist]. The
                                                          The rates
                                                                rates for 2021, January
                                                                      for 2021,           through
                                                                                 January through
       March 2021
       March  2021 were
                    were processed
                          processed at at the
                                          the correct rate. Maximum
                                              correct rate. Maximum Non-Network
                                                                         Non-Network
       Reimbursement Program
       Reimbursement    Program (MNRP)
                                   (MNRP) -MNRP
                                              -MNRP rate    times 110%.
                                                       rate times   110%. The
                                                                            The rates
                                                                                rates changed
                                                                                       changed
       April 2021
       April 2021 to
                   to current
                      current new
                              new allowable.
                                    allowable. The    MNRP rates
                                                 The MNRP     rates can
                                                                     can vary
                                                                          vary based
                                                                               based on
                                                                                      on the
                                                                                         the
       place of
       place of service
                service billed
                        billed on
                               on the
                                   the claim
                                        claim form  and they
                                               form and  they can
                                                               can change    year to
                                                                    change year   to year.
                                                                                     year. No
                                                                                           No
       additional payments
       additional payments were
                             were warranted.
                                    warranted.

       43.      The
                The letter
                    letter failed to respond
                           failed to respond to
                                             to Plaintiffs
                                                Plaintiff’s request
                                                            request for supporting documentation
                                                                    for supporting documentation

relating to
relating to how
            how United
                United processed
                       processed the
                                 the claims,
                                     claims, in violation of
                                             in violation of United's
                                                             United’s obligations
                                                                      obligations under
                                                                                  under ERISA.
                                                                                        ERISA.

Without providing
Without providing the
                  the requested
                      requested data,
                                data, United
                                      United offered
                                             offered Plaintiff
                                                     Plaintiff the
                                                               the opportunity
                                                                   opportunity to
                                                                               to submit
                                                                                  submit aa second
                                                                                            second

level appeal.
level appeal.

       44.      Plaintiff filed
                Plaintiff filed aa second-level
                                   second-level appeal
                                                appeal on
                                                       on December
                                                          December 22,
                                                                   22, 2021,
                                                                       2021, again
                                                                             again challenging
                                                                                   challenging

United’s underpayments
United's underpayments for the identified
                       for the            services and
                               identified services and again
                                                       again pointing
                                                             pointing out
                                                                      out the
                                                                          the correct
                                                                              correct published
                                                                                      published

Medicare rates
Medicare rates for
               for 2020
                   2020 and
                        and 2021.
                            2021. She similarly repeated
                                  She similarly          her demand
                                                repeated her        under ERISA
                                                             demand under ERISA for access to
                                                                                for access to

United’s documentation
United's               underlying its
         documentation underlying its processing
                                      processing of
                                                 of her
                                                    her claims.
                                                        claims.




                                                   99
       45.     United denied
               United        the second-level
                      denied the second-level appeal
                                              appeal by
                                                     by letter
                                                        letter dated
                                                               dated January 10, 2022
                                                                     January 10, 2022 on
                                                                                      on the
                                                                                         the

same UBH
same UBH letterhead.
         letterhead. Without
                     Without providing
                             providing any
                                       any further
                                           further explanation, United stated
                                                   explanation, United stated only
                                                                              only that
                                                                                   that "it
                                                                                        “it has
                                                                                            has

been determined
been determined that
                that the
                     the submitted
                         submitted claim(s)
                                   claim(s) for date(s) of
                                            for date(s) of service
                                                           service 07/08/2020 through
                                                                   07/08/2020 through

10/12/2021 has
10/12/2021 has not
               not been
                   been approved
                        approved for additional payment,"
                                 for additional payment,” and
                                                          and that,
                                                              that, "[pier
                                                                    “[p]er the
                                                                           the claim
                                                                               claim processing
                                                                                     processing

department date(s)
department date(s) of
                   of service
                      service 07/08/2020
                              07/08/2020 through
                                         through 10/12/2021
                                                 10/12/2021 were
                                                            were processed
                                                                 processed correctly,
                                                                           correctly, per
                                                                                      per the
                                                                                          the

United Behavioral
United Behavioral Health
                  Health guidelines."
                         guidelines.” Once
                                      Once again,
                                           again, United
                                                  United failed
                                                         failed to
                                                                to provide
                                                                   provide any
                                                                           any of
                                                                               of the
                                                                                  the supporting
                                                                                      supporting

documentation relating
documentation relating to
                       to its
                          its processing
                              processing of
                                         of Plaintiff's
                                            Plaintiff’s claims.
                                                        claims.

       46.     The
               The letter concluded by
                   letter concluded by confirming
                                       confirming that
                                                  that Plaintiff
                                                       Plaintiff had
                                                                 had exhausted her internal
                                                                     exhausted her internal

appeals, stating:
appeals, stating: "This
                  “This is
                        is the
                           the Final
                               Final Adverse
                                     Adverse Determination
                                             Determination of
                                                           of your
                                                              your internal
                                                                   internal appeal.
                                                                            appeal. All
                                                                                    All internal
                                                                                        internal

appeals through
appeals through UBH
                UBH have
                    have been
                         been exhausted.”
                              exhausted."

       47.     Meanwhile, United
               Meanwhile, United has
                                 has continued to underpay
                                     continued to underpay Plaintiff's
                                                           Plaintiff’s benefits,
                                                                       benefits, even
                                                                                 even after
                                                                                      after

Plaintiff brought
Plaintiff brought the
                  the correct
                      correct published
                              published Medicare
                                        Medicare rates
                                                 rates to
                                                       to its attention.
                                                          its attention.



IV.
IV.    United’s
       United's ERISA Violations
                ERISA Violations

       48.     Plaintiff’s Plan
               Plaintiff's Plan set
                                set the
                                    the Allowed
                                        Allowed Amount
                                                Amount for ONET services
                                                       for ONET services at
                                                                         at 110%
                                                                            110% of
                                                                                 of Medicare
                                                                                    Medicare

rates. As
rates. As of
          of March
             March 31,
                   31, 2020,
                       2020, CMS
                             CMS set
                                 set the
                                     the Medicare
                                         Medicare rates for the
                                                  rates for the telehealth
                                                                telehealth services
                                                                           services Plaintiff
                                                                                    Plaintiff

received at
received at the
            the higher
                higher Office-Based
                       Office-Based Rate.
                                    Rate. United,
                                          United, however,
                                                  however, calculated
                                                           calculated and
                                                                      and paid
                                                                          paid less than the
                                                                               less than the Plan
                                                                                             Plan

provided because
provided because it based the
                 it based the benefit
                              benefit payment
                                      payment on
                                              on the
                                                 the lower
                                                     lower Facility-Based
                                                           Facility-Based Rate.
                                                                          Rate. In so doing,
                                                                                In so doing,

United unreasonably
United              interpreted the
       unreasonably interpreted the written
                                    written terms
                                            terms of
                                                  of Plaintiffs
                                                     Plaintiff’s Plan
                                                                 Plan and
                                                                      and violated
                                                                          violated its
                                                                                   its obligations
                                                                                       obligations

under ERISA
under       to administer
      ERISA to administer the
                          the Plan
                              Plan according
                                   according to
                                             to its
                                                its written
                                                    written terms.
                                                            terms. As
                                                                   As aa result,
                                                                         result, United
                                                                                 United underpaid
                                                                                        underpaid

the benefits
the benefits due
             due to
                 to Plaintiff
                    Plaintiff under
                              under the
                                    the terms
                                        terms of
                                              of her
                                                 her Plan.
                                                     Plan.

       49.     In addition, as
               In addition, as ERISA fiduciaries, URIC
                               ERISA fiduciaries, UHIC and
                                                       and UBH
                                                           UBH owe
                                                               owe duties
                                                                   duties of
                                                                          of loyalty
                                                                             loyalty to
                                                                                     to plan
                                                                                        plan

participants and
participants and beneficiaries,
                 beneficiaries, which
                                which require
                                      require them
                                              them to
                                                   to act
                                                      act "solely
                                                          “solely in
                                                                  in the
                                                                     the interests
                                                                         interests of
                                                                                   of the
                                                                                      the

participants and
participants and beneficiaries"
                 beneficiaries” of
                                of the
                                   the plans
                                       plans they
                                             they administer
                                                  administer and
                                                             and for
                                                                 for the
                                                                     the "exclusive
                                                                         “exclusive purpose"
                                                                                    purpose” of
                                                                                             of


                                                 10
                                                 10
providing benefits
providing benefits to
                   to participants
                      participants and
                                   and beneficiaries
                                       beneficiaries and
                                                     and paying
                                                         paying reasonable expenses of
                                                                reasonable expenses of

administering the
administering the plans.
                  plans. 29
                         29 U.S.C.
                            U.S.C. §
                                   § 1104(a)(1)(A).
                                     1104(a)(1)(A). UHIC
                                                    UHIC and
                                                         and UBH
                                                             UBH also
                                                                 also owe
                                                                      owe plan
                                                                          plan participants
                                                                               participants

and beneficiaries
and beneficiaries duties
                  duties of
                         of care,
                            care, which
                                  which require
                                        require Defendants
                                                Defendants to
                                                           to act
                                                              act with
                                                                  with reasonable
                                                                       reasonable "care,
                                                                                  “care, skill,
                                                                                         skill,

prudence, and
prudence, and diligence"
              diligence” and
                         and in accordance with
                             in accordance with the
                                                the terms
                                                    terms of
                                                          of the
                                                             the plans,
                                                                 plans, so
                                                                        so long
                                                                           long as
                                                                                as such
                                                                                   such terms
                                                                                        terms are
                                                                                              are

consistent with
consistent with ERISA. Id. §§
                ERISA. Id. §§ 1104(a)(1)(B),
                              1104(a)(1)(B), (D).
                                             (D). UHIC
                                                  UHIC and
                                                       and UBH
                                                           UBH also
                                                               also owe
                                                                    owe duties as co-
                                                                        duties as co-

fiduciaries to prevent
fiduciaries to prevent or,
                       or, at
                           at least, make reasonable
                              least, make reasonable efforts to remedy,
                                                     efforts to remedy, each other’s fiduciary
                                                                        each other's fiduciary

breaches. 29
breaches. 29 U.S.0
             U.S.C §
                   § 1105.
                     1105.

       50.     Both Defendants
               Both Defendants violated
                               violated each of these
                                        each of these fiduciary
                                                      fiduciary duties by deliberately
                                                                duties by deliberately

calculating and
calculating and paying
                paying Plaintiffs
                       Plaintiff’s benefits
                                   benefits using
                                            using aa lower rate than
                                                     lower rate than her
                                                                     her Plan
                                                                         Plan prescribed.
                                                                              prescribed. United's
                                                                                          United’s

reimbursement methodology
reimbursement methodology contradicted the written
                          contradicted the written plan
                                                   plan terms,
                                                        terms, reflecting
                                                               reflecting at
                                                                          at least
                                                                             least aa failure of
                                                                                      failure of

care, skill,
care, skill, prudence,
             prudence, and
                       and diligence. Nor was
                           diligence. Nor was United's
                                              United’s decision to ignore
                                                       decision to ignore CMS
                                                                          CMS policy
                                                                              policy and
                                                                                     and apply
                                                                                         apply

the lower
the lower Facility-Based
          Facility-Based made
                         made "solely
                              “solely in the interest
                                      in the          of,” or
                                             interest of," or for
                                                              for the
                                                                  the "exclusive
                                                                      “exclusive purpose"
                                                                                 purpose” of
                                                                                          of

providing benefits
providing benefits to
                   to Plaintiff.
                      Plaintiff. Indeed, this decision
                                 Indeed, this          was contrary
                                              decision was contrary to
                                                                    to Plaintiff's
                                                                       Plaintiff’s best
                                                                                   best interests
                                                                                        interests

because it
because it increased her financial
           increased her           exposure for
                         financial exposure for the
                                                the covered services.
                                                    covered services.

       51.     United, however,
               United, however, benefited
                                benefited directly
                                          directly from
                                                   from the
                                                        the reduced
                                                            reduced benefit
                                                                    benefit payments
                                                                            payments that
                                                                                     that

resulted from
resulted      its policy
         from its policy of
                         of ignoring
                            ignoring CMS's
                                     CMS’s telehealth
                                           telehealth rate
                                                      rate change.
                                                           change. As
                                                                   As the
                                                                      the underwriter
                                                                          underwriter of
                                                                                      of fully-
                                                                                         fully-

insured plans,
insured plans, UHIC
               UHIC is
                    is responsible for paying
                       responsible for paying benefits
                                              benefits under
                                                       under those
                                                             those plans
                                                                   plans from its own
                                                                         from its own assets.
                                                                                      assets.

UBH assumed
UBH assumed some
            some or
                 or all
                    all of
                        of this
                           this financial
                                financial risk to pay
                                          risk to pay benefits
                                                      benefits for mental health
                                                               for mental health and
                                                                                 and substance
                                                                                     substance

use disorder
use disorder treatment
             treatment under
                       under fully-insured
                             fully-insured plans.
                                           plans. As
                                                  As aa result,
                                                        result, every
                                                                every dollar
                                                                      dollar that
                                                                             that United
                                                                                  United pays
                                                                                         pays in
                                                                                              in

benefits cuts
benefits cuts directly against its
              directly against     bottom line—while
                               its bottom line—while every dollar United
                                                     every dollar United avoids
                                                                         avoids paying
                                                                                paying in
                                                                                       in benefits
                                                                                          benefits

enhances its
enhances     bottom line.
         its bottom line. In short, the
                          In short, the less
                                        less United
                                             United pays
                                                    pays in
                                                         in benefits,
                                                            benefits, the
                                                                      the more
                                                                          more it makes in
                                                                               it makes in profit.
                                                                                           profit.

       52.     When United
               When United failed to adopt
                           failed to adopt CMS's
                                           CMS’s change
                                                 change in methodology for
                                                        in methodology     payment of
                                                                       for payment of

telehealth services,
telehealth services, it was no
                     it was no longer
                               longer using
                                      using the
                                            the actual
                                                actual published
                                                       published Medicare
                                                                 Medicare rates
                                                                          rates for those services,
                                                                                for those services,




                                                  11
                                                  11
but instead
but instead was
            was deliberately using aa lower
                deliberately using    lower rate, paying less
                                            rate, paying less in benefits, and
                                                              in benefits, and pocketing
                                                                               pocketing the
                                                                                         the

difference.
difference.

        53.     Stated
                Stated differently, when Plaintiff
                       differently, when Plaintiff switched
                                                   switched from
                                                            from in-person sessions in
                                                                 in-person sessions in her
                                                                                       her

therapist’s office
therapist's office to
                   to receiving
                      receiving the
                                the same
                                    same services
                                         services via
                                                  via telehealth,
                                                      telehealth, under
                                                                  under her
                                                                        her Plan's
                                                                            Plan’s written
                                                                                   written terms
                                                                                           terms and
                                                                                                 and

the current
the current CMS
            CMS policy
                policy on
                       on telehealth
                          telehealth reimbursement, her benefit
                                     reimbursement, her benefit payments
                                                                payments for each session
                                                                         for each session

should not
should not have
           have changed
                changed at
                        at all.
                           all. But
                                But by
                                    by refusing
                                       refusing to
                                                to adhere
                                                   adhere to
                                                          to the
                                                             the CMS
                                                                 CMS policy,
                                                                     policy, United
                                                                             United was
                                                                                    was able
                                                                                        able to
                                                                                             to

take advantage
take advantage of
               of the
                  the increased
                      increased use
                                use of
                                    of telehealth
                                       telehealth services
                                                  services resulting from the
                                                           resulting from the COVID-19
                                                                              COVID-19

pandemic to
pandemic to pay
            pay less
                less in
                     in benefits
                        benefits for the same
                                 for the same covered
                                              covered services,
                                                      services, thereby
                                                                thereby enriching
                                                                        enriching itself at the
                                                                                  itself at the

expense of
expense of its
           its insureds, including Plaintiff.
               insureds, including Plaintiff.



                                  CLASS ALLEGATIONS
                                  CLASS ALLEGATIONS
        54.     Plaintiff incorporates
                Plaintiff incorporates by
                                       by reference all preceding
                                          reference all preceding paragraphs
                                                                  paragraphs as
                                                                             as though
                                                                                though each
                                                                                       each were
                                                                                            were

fully stated herein.
fully stated herein.

        55.     United serves
                United serves as
                              as the
                                 the claims administrator for
                                     claims administrator for thousands
                                                              thousands of
                                                                        of ERISA health benefit
                                                                           ERISA health benefit

plans that,
plans that, like
            like Plaintiff's
                 Plaintiff’s Plan,
                             Plan, require
                                   require United
                                           United to
                                                  to calculate benefits due
                                                     calculate benefits due for covered ONET
                                                                            for covered ONET

services based
services based on
               on published
                  published Medicare
                            Medicare rates.
                                     rates.

        56.     United followed
                United followed aa uniform
                                   uniform policy
                                           policy and
                                                  and practice
                                                      practice with
                                                               with respect
                                                                    respect to
                                                                            to all
                                                                               all of
                                                                                   of these
                                                                                      these plans,
                                                                                            plans,

by refusing
by refusing to
            to follow
               follow the
                      the change
                          change in
                                 in CMS
                                    CMS policy
                                        policy with
                                               with respect to reimbursement
                                                    respect to               of telehealth
                                                               reimbursement of telehealth

services, and
services, and instead
              instead continuing to use
                      continuing to use the
                                        the lower
                                            lower Facility-Based
                                                  Facility-Based Rate
                                                                 Rate to
                                                                      to calculate
                                                                         calculate benefits
                                                                                   benefits due
                                                                                            due for
                                                                                                for

all telehealth
all telehealth services,
               services, regardless
                         regardless of
                                    of where
                                       where the
                                             the provider
                                                 provider ordinarily
                                                          ordinarily performed
                                                                     performed the
                                                                               the services.
                                                                                   services.

Because of
Because of United's
           United’s uniform
                    uniform policy
                            policy and
                                   and practice
                                       practice of
                                                of ignoring the actual
                                                   ignoring the actual published
                                                                       published Medicare
                                                                                 Medicare rates
                                                                                          rates

for office-based telehealth
for office-based telehealth services,
                            services, United
                                      United systematically
                                             systematically and
                                                            and uniformly
                                                                uniformly underpaid
                                                                          underpaid benefits
                                                                                    benefits due
                                                                                             due

for such services
for such services under
                  under all
                        all of
                            of these
                               these plans.
                                     plans.




                                                 12
                                                 12
       57.     As such,
               As such, Plaintiff
                        Plaintiff brings
                                  brings each of her
                                         each of her claims
                                                     claims on
                                                            on behalf
                                                               behalf of
                                                                      of the
                                                                         the following class
                                                                             following class

(“Class”):
("Class"):

       Any participant
       Any participant or
                        or beneficiary
                           beneficiary in
                                        in aa health
                                              health benefit
                                                      benefit plan
                                                              plan governed
                                                                    governed byby ERISA,
                                                                                  ERISA, oror their
                                                                                              their
       lawful assignee,  whose  plan  states   that the amount   of  benefits  due under
       lawful assignee, whose plan states that the amount of benefits due under the plan  the plan
       for covered services
       for covered   services received
                               received fromfrom an an out-of-network
                                                        out-of-network ("ONET")
                                                                           (“ONET”) healthcare
                                                                                        healthcare
       provider will
       provider will be
                     be based
                         based on
                               on aa percentage
                                     percentage of   of Medicare
                                                        Medicare rates,    and whose
                                                                    rates, and  whose request   for
                                                                                       request for
       coverage of
       coverage  of office-based
                     office-based telehealth
                                   telehealth services
                                                 services provided
                                                            provided by by an
                                                                            an ONET
                                                                                ONET healthcare
                                                                                        healthcare
       provider was
       provider was approved
                     approved and
                               and paid
                                    paid by
                                          by United
                                               United onon or
                                                           or after
                                                              after March
                                                                     March 31,   2020.
                                                                             31, 2020.

       58.     The members of
               The members of the
                              the class
                                  class can be objectively
                                        can be objectively ascertained
                                                           ascertained through
                                                                       through the
                                                                               the use of
                                                                                   use of

information contained
information contained in
                      in United's
                         United’s files
                                  files because
                                        because United
                                                United knows who its
                                                       knows who its members
                                                                     members are,
                                                                             are, by
                                                                                  by which
                                                                                     which

plans they
plans they are
           are insured, what type
               insured, what type of
                                  of claims
                                     claims for benefits they
                                            for benefits they have
                                                              have filed, how those
                                                                   filed, how those claims
                                                                                    claims were
                                                                                           were

processed, how
processed, how benefits
               benefits were
                        were calculated,
                             calculated, and
                                         and when
                                             when they
                                                  they were
                                                       were paid.
                                                            paid.

       59.     Upon information
               Upon information and
                                and belief,
                                    belief, the
                                            the members
                                                members of
                                                        of the
                                                           the Class
                                                               Class are
                                                                     are so
                                                                         so numerous
                                                                            numerous that
                                                                                     that

joinder of
joinder of all
           all members
               members is
                       is impracticable.
                          impracticable. While the number
                                         While the number of
                                                          of class
                                                             class members
                                                                   members is
                                                                           is solely
                                                                              solely within
                                                                                     within

United’s possession,
United's possession, Plaintiff
                     Plaintiff in
                               in good
                                  good faith
                                       faith believes
                                             believes that
                                                      that the
                                                           the Class
                                                               Class consists
                                                                     consists of
                                                                              of at
                                                                                 at least
                                                                                    least hundreds
                                                                                          hundreds

and likely
and likely thousands
           thousands of
                     of ERISA plan participants
                        ERISA plan participants and
                                                and beneficiaries,
                                                    beneficiaries, given
                                                                   given how
                                                                         how many
                                                                             many services
                                                                                  services are
                                                                                           are

eligible to
eligible to be
            be provided
               provided via
                        via telehealth
                            telehealth and
                                       and how
                                           how widespread
                                               widespread the
                                                          the use
                                                              use of
                                                                  of telehealth
                                                                     telehealth has
                                                                                has become
                                                                                    become since
                                                                                           since

the inception
the inception of
              of the
                 the COVID-19
                     COVID-19 pandemic.
                              pandemic.

       60.     Common questions
               Common questions of
                                of law and fact
                                   law and      exist as
                                           fact exist as to
                                                         to all
                                                            all members
                                                                members of
                                                                        of the
                                                                           the Class
                                                                               Class and
                                                                                     and

predominate over
predominate over any
                 any questions
                     questions affecting
                               affecting solely
                                         solely individual members of
                                                individual members of the
                                                                      the Class,
                                                                          Class, including
                                                                                 including but
                                                                                           but

not limited
not limited to:
            to: (a)
                (a) whether
                    whether the
                            the written
                                written terms
                                        terms of
                                              of the
                                                 the Class
                                                     Class members'
                                                           members’ Plans
                                                                    Plans require
                                                                          require United
                                                                                  United to
                                                                                         to

calculate benefit
calculate benefit payments
                  payments for
                           for ONET
                               ONET services
                                    services based
                                             based on
                                                   on the
                                                      the published
                                                          published CMS
                                                                    CMS rates for such
                                                                        rates for such

services; (b)
services; (b) whether
              whether United's
                      United’s use
                               use of
                                   of the
                                      the lower,
                                          lower, Facility-Based
                                                 Facility-Based Rate
                                                                Rate published
                                                                     published by
                                                                               by CMS
                                                                                  CMS rather
                                                                                      rather

than the
than the higher,
         higher, Office-Based
                 Office-Based Rate
                              Rate to
                                   to calculate
                                      calculate benefits
                                                benefits for
                                                         for office-based
                                                             office-based ONET
                                                                          ONET telehealth
                                                                               telehealth

services violated
services violated the
                  the written
                      written terms
                              terms of
                                    of the
                                       the Class
                                           Class members'
                                                 members’ Plans;
                                                          Plans; (c)
                                                                 (c) whether
                                                                     whether United's
                                                                             United’s use
                                                                                      use of
                                                                                          of the
                                                                                             the

lower, Facility-Based Rate
lower, Facility-Based Rate rather
                           rather than
                                  than the
                                       the higher,
                                           higher, Office-Based
                                                   Office-Based Rate
                                                                Rate to
                                                                     to calculate
                                                                        calculate benefits
                                                                                  benefits for
                                                                                           for




                                                   13
                                                   13
office-based ONET
office-based ONET telehealth
                  telehealth services
                             services breached
                                      breached its
                                               its fiduciary duties under
                                                   fiduciary duties under ERISA; and
                                                                          ERISA; and

(d) whether
(d) whether the
            the remedies
                remedies requested
                         requested are
                                   are available
                                       available to
                                                 to the
                                                    the Class.
                                                        Class.

        61.    Certification is
               Certification is desirable
                                desirable and
                                          and proper
                                              proper because
                                                     because the
                                                             the Plaintiffs
                                                                 Plaintiff’s claims
                                                                             claims are
                                                                                    are typical
                                                                                        typical of
                                                                                                of

the claims
the claims of
           of the
              the members
                  members of
                          of the
                             the class Plaintiff seeks
                                 class Plaintiff seeks to
                                                       to represent.
                                                          represent. As
                                                                     As alleged
                                                                        alleged herein,
                                                                                herein, United
                                                                                        United

adopted aa uniform
adopted    uniform policy
                   policy and
                          and practice
                              practice that
                                       that applies
                                            applies equally to Plaintiff
                                                    equally to Plaintiff and
                                                                         and all
                                                                             all other
                                                                                 other similarly
                                                                                       similarly

situated members
situated members of
                 of the
                    the ERISA plans United
                        ERISA plans United administers.
                                           administers.

        62.    Plaintiff will
               Plaintiff will fairly
                              fairly and
                                     and adequately
                                         adequately protect
                                                    protect the
                                                            the interests
                                                                interests of
                                                                          of the
                                                                             the members
                                                                                 members of
                                                                                         of the
                                                                                            the

Class, is
Class, is committed to the
          committed to the vigorous
                           vigorous prosecution
                                    prosecution of
                                                of this
                                                   this action,
                                                        action, has
                                                                has retained
                                                                    retained counsel
                                                                             counsel competent
                                                                                     competent

and experienced
and experienced in
                in class
                   class action
                         action and
                                and ERISA health insurance-related
                                    ERISA health insurance-related litigation,
                                                                   litigation, and
                                                                               and has
                                                                                   has no
                                                                                       no

interests antagonistic
interests antagonistic to
                       to or
                          or in conflict with
                             in conflict with those
                                              those of
                                                    of the
                                                       the Class.
                                                           Class.

        63.    A class
               A class action
                       action is superior to
                              is superior to other
                                             other available
                                                   available methods
                                                             methods for the fair
                                                                     for the      and efficient
                                                                             fair and efficient

adjudication of
adjudication of this
                this controversy because joinder
                     controversy because joinder of
                                                 of all
                                                    all members
                                                        members of
                                                                of the
                                                                   the Class
                                                                       Class is
                                                                             is impracticable.
                                                                                impracticable.

Further, the
Further, the expense and burden
             expense and burden of
                                of individual
                                   individual litigation make it
                                              litigation make    irrational for
                                                              it irrational for class members to
                                                                                class members to

sue individually
sue individually to
                 to redress the harm
                    redress the harm done to them.
                                     done to them. Given the uniform
                                                   Given the uniform policy
                                                                     policy and
                                                                            and practices
                                                                                practices at
                                                                                          at

issue, there
issue, there will
             will also
                  also be
                       be no
                          no difficulty
                             difficulty in
                                        in the
                                           the management
                                               management of
                                                          of this
                                                             this litigation as aa class
                                                                  litigation as    class action.
                                                                                         action.



                                              COUNT
                                              COUNT II

        64.    Plaintiff incorporates
               Plaintiff incorporates by
                                      by reference the preceding
                                         reference the preceding paragraphs
                                                                 paragraphs as
                                                                            as though
                                                                               though such
                                                                                      such

paragraphs were
paragraphs were fully
                fully stated
                      stated herein.
                             herein.

        65.    Plaintiff brings
               Plaintiff brings this
                                this Count
                                     Count on
                                           on behalf
                                              behalf of
                                                     of herself
                                                        herself and
                                                                and all
                                                                    all other
                                                                        other members
                                                                              members of
                                                                                      of the
                                                                                         the Class
                                                                                             Class

alleged above,
alleged above, pursuant
               pursuant to
                        to 29
                           29 U.S.C.
                              U.S.C. §
                                     § 1132(a)(1)(B).
                                       1132(a)(1)(B).

        66.    United has
               United     systematically violated
                      has systematically violated the
                                                  the terms
                                                      terms of
                                                            of Plaintiffs
                                                               Plaintiff’s and
                                                                           and the
                                                                               the Class
                                                                                   Class members'
                                                                                         members’

Plans and
Plans and ERISA by calculating
          ERISA by calculating the
                               the amount
                                   amount of
                                          of benefits
                                             benefits due
                                                      due for covered office-based
                                                          for covered office-based telehealth
                                                                                   telehealth

services received
services received from
                  from ONET
                       ONET healthcare providers based
                            healthcare providers based on
                                                       on the
                                                          the lower,
                                                              lower, Facility-Based
                                                                     Facility-Based Rates
                                                                                    Rates


                                                  14
                                                  14
published by
published by CMS
             CMS for such services,
                 for such services, rather than the
                                    rather than the higher,
                                                    higher, Office-Based
                                                            Office-Based Rates
                                                                         Rates Medicare
                                                                               Medicare

actually allows
actually allows for the services.
                for the services.

         67.    As aa result
                As           of its
                      result of its uniform
                                    uniform policy
                                            policy and
                                                   and practice,
                                                       practice, United
                                                                 United systematically
                                                                        systematically underpaid
                                                                                       underpaid

Plaintiffs’ and
Plaintiffs' and the
                the Class
                    Class members'
                          members’ benefits
                                   benefits for these covered
                                            for these covered services.
                                                              services.

         68.   Because United
               Because United continues to refuse
                              continues to        to adhere
                                           refuse to adhere to
                                                            to the
                                                               the current
                                                                   current CMS
                                                                           CMS policy
                                                                               policy on
                                                                                      on

reimbursement for
reimbursement for telehealth
                  telehealth services
                             services and
                                      and to
                                          to honor
                                             honor the
                                                   the actual
                                                       actual published
                                                              published Medicare
                                                                        Medicare rates
                                                                                 rates for such
                                                                                       for such

services, Plaintiff
services, Plaintiff and
                    and the
                        the Class
                            Class members
                                  members face
                                          face an
                                               an ongoing,
                                                  ongoing, material
                                                           material risk
                                                                    risk that
                                                                         that United
                                                                              United will
                                                                                     will continue
                                                                                          continue

to underpay
to underpay their
            their claims
                  claims for
                         for covered telehealth services
                             covered telehealth services in the future.
                                                         in the future.

         69.    To remedy United's
                To remedy United’s systematic
                                   systematic underpayments
                                              underpayments of
                                                            of benefits
                                                               benefits to
                                                                        to date,
                                                                           date, Plaintiff
                                                                                 Plaintiff seeks
                                                                                           seeks

an award
an award of
         of the
            the benefits
                benefits due
                         due to
                             to her
                                her and
                                    and to
                                        to the
                                           the Class
                                               Class members,
                                                     members, plus
                                                              plus interest
                                                                   interest as
                                                                            as allowed
                                                                               allowed by
                                                                                       by law.
                                                                                          law.

         70.    To prevent United
                To prevent United from
                                  from injuring
                                       injuring her
                                                her and
                                                    and the
                                                        the Class
                                                            Class members
                                                                  members in
                                                                          in the
                                                                             the same
                                                                                 same way
                                                                                      way in
                                                                                          in

the future,
the future, Plaintiff
            Plaintiff seeks
                      seeks declaratory
                            declaratory and
                                        and injunctive
                                            injunctive relief as set
                                                       relief as set forth in the
                                                                     forth in the Prayer
                                                                                  Prayer for Relief,
                                                                                         for Relief,

below.
below.



                                             COUNT II
                                             COUNT II

         71.    Plaintiff incorporates
                Plaintiff incorporates by
                                       by reference the preceding
                                          reference the preceding paragraphs
                                                                  paragraphs as
                                                                             as though
                                                                                though such
                                                                                       such

paragraphs were
paragraphs were fully
                fully stated
                      stated herein.
                             herein.

         72.    Plaintiff brings
                Plaintiff brings this
                                 this Count
                                      Count on
                                            on behalf
                                               behalf of
                                                      of herself
                                                         herself and
                                                                 and all
                                                                     all the
                                                                         the other
                                                                             other members
                                                                                   members of
                                                                                           of the
                                                                                              the

Class alleged
Class alleged above,
              above, pursuant
                     pursuant to
                              to 29
                                 29 U.S.C.
                                    U.S.C. §
                                           § 1132(a)(1)(B),
                                             1132(a)(1)(B), or,
                                                            or, in
                                                                in the
                                                                   the alternative,
                                                                       alternative, pursuant
                                                                                    pursuant to
                                                                                             to 29
                                                                                                29

U.S.C. §
U.S.C. § 1132(a)(3).
         1132(a)(3).

         73     As explained
                As explained above,
                             above, when
                                    when United
                                         United calculated and paid
                                                calculated and paid benefits
                                                                    benefits for the covered
                                                                             for the covered

telehealth services
telehealth services received
                    received by
                             by Plaintiff
                                Plaintiff and
                                          and the
                                              the members
                                                  members of
                                                          of the
                                                             the putative
                                                                 putative Class,
                                                                          Class, United
                                                                                 United was
                                                                                        was

acting as
acting as aa fiduciary
             fiduciary under
                       under ERISA.
                             ERISA.




                                                  15
                                                  15
        74.    As an
               As an ERISA
                     ERISA fiduciary, pursuant to
                           fiduciary, pursuant to 29
                                                  29 U.S.C.
                                                     U.S.C. §
                                                            § 1104(a),
                                                              1104(a), United
                                                                       United was
                                                                              was required to
                                                                                  required to

carry out
carry out its
          its duties
              duties solely
                     solely in
                            in the
                               the interests
                                   interests of
                                             of the
                                                the participants
                                                    participants and
                                                                 and beneficiaries
                                                                     beneficiaries of
                                                                                   of the
                                                                                      the plans
                                                                                          plans and
                                                                                                and for
                                                                                                    for

the exclusive
the exclusive purpose
              purpose of
                      of providing
                         providing benefits
                                   benefits to
                                            to those
                                               those participants
                                                     participants and
                                                                  and beneficiaries;
                                                                      beneficiaries; to
                                                                                     to act
                                                                                        act with
                                                                                            with

care, skill,
care, skill, diligence
             diligence and
                       and prudence;
                           prudence; to
                                     to comply with the
                                        comply with the written
                                                        written plan
                                                                plan terms;
                                                                     terms; and
                                                                            and to
                                                                                to prevent
                                                                                   prevent or
                                                                                           or act
                                                                                              act

reasonably to
reasonably to remedy
              remedy breaches
                     breaches by
                              by co-fiduciaries.
                                 co-fiduciaries.

        75.    United breached
               United breached each
                               each of
                                    of those
                                       those duties
                                             duties by
                                                    by ignoring
                                                       ignoring the
                                                                the change
                                                                    change in
                                                                           in CMS
                                                                              CMS policy
                                                                                  policy to
                                                                                         to

pay for
pay for office-based
        office-based telehealth
                     telehealth services
                                services using
                                         using the
                                               the Office-Based
                                                   Office-Based Rate
                                                                Rate published
                                                                     published by
                                                                               by CMS
                                                                                  CMS for the
                                                                                      for the

service and
service and instead
            instead using the lower,
                    using the        Facility-Based Rate.
                              lower, Facility-Based Rate. In doing so,
                                                          In doing so, United
                                                                       United placed
                                                                              placed its
                                                                                     its own
                                                                                         own

financial interests above
financial interests above the
                          the interests
                              interests of
                                        of the
                                           the plan
                                               plan participants
                                                    participants and
                                                                 and beneficiaries,
                                                                     beneficiaries, taking
                                                                                    taking advantage
                                                                                           advantage

of the
of the increase
       increase in telehealth services
                in telehealth services caused by the
                                       caused by the COVID-19
                                                     COVID-19 pandemic
                                                              pandemic to
                                                                       to line
                                                                          line its
                                                                               its pockets
                                                                                   pockets with
                                                                                           with

money it
money it should
         should have
                have paid
                     paid out
                          out in benefits for
                              in benefits     those services.
                                          for those services.

        76.    Plaintiff and
               Plaintiff and the
                             the other
                                 other members
                                       members of
                                               of the
                                                  the putative
                                                      putative Class
                                                               Class have
                                                                     have been
                                                                          been harmed
                                                                               harmed by
                                                                                      by

United’s breaches
United's breaches of
                  of fiduciary
                     fiduciary duty
                               duty because
                                    because United
                                            United enriched
                                                   enriched itself
                                                            itself at
                                                                   at their
                                                                      their expense.
                                                                            expense.

        77.    Plaintiff seeks
               Plaintiff seeks the
                               the equitable
                                   equitable relief identified below
                                             relief identified below to
                                                                     to remedy
                                                                        remedy United's
                                                                               United’s breaches
                                                                                        breaches

of fiduciary
of fiduciary duty and to
             duty and to prevent
                         prevent similar
                                 similar breaches
                                         breaches from
                                                  from occurring
                                                       occurring in
                                                                 in the
                                                                    the future.
                                                                        future.



                                   PRAYER FOR
                                   PRAYER     RELIEF
                                          FOR RELIEF

WHEREFORE, Plaintiff
WHEREFORE, Plaintiff demands
                     demands judgment
                             judgment in
                                      in her
                                         her favor
                                             favor against
                                                   against United
                                                           United as
                                                                  as follows:
                                                                     follows:

       A.
       A.      Certifying the
               Certifying the Class
                              Class under
                                    under Rule
                                          Rule 23
                                               23 of
                                                  of the
                                                     the Federal
                                                         Federal Rules
                                                                 Rules of
                                                                       of Civil
                                                                          Civil Procedure
                                                                                Procedure and
                                                                                          and

appointing Plaintiff
appointing Plaintiff as
                     as the
                        the Class
                            Class Representative
                                  Representative and
                                                 and Plaintiffs
                                                     Plaintiff’s counsel as Class
                                                                 counsel as Class Counsel;
                                                                                  Counsel;

       B.
       B.      Declaring that
               Declaring that United
                              United violated
                                     violated its legal obligations
                                              its legal obligations in
                                                                    in the
                                                                       the manner
                                                                           manner described
                                                                                  described herein;
                                                                                            herein;

       C.
       C.      Permanently enjoining
               Permanently enjoining United
                                     United from
                                            from engaging
                                                 engaging in
                                                          in the
                                                             the misconduct
                                                                 misconduct described herein;
                                                                            described herein;




                                                  16
                                                  16
       D.
       D.        Awarding Plaintiff
                 Awarding Plaintiff and
                                    and the
                                        the other
                                            other Class
                                                  Class Members
                                                        Members benefits
                                                                benefits due
                                                                         due to
                                                                             to them
                                                                                them under
                                                                                     under their
                                                                                           their

Plans, plus
Plans, plus late-payment
            late-payment interest as permitted
                         interest as permitted by
                                               by ERISA and pre-
                                                  ERISA and pre- and
                                                                 and post
                                                                     post-judgment interest;
                                                                          judgment interest;

       E.
       E.        Awarding Plaintiff
                 Awarding Plaintiff and
                                    and the
                                        the other Class Members
                                            other Class Members appropriate
                                                                appropriate equitable relief,
                                                                            equitable relief,

including but
including but not
              not necessarily
                  necessarily limited
                              limited to
                                      to an
                                         an appropriate
                                            appropriate monetary
                                                        monetary award
                                                                 award based
                                                                       based on
                                                                             on disgorgement,
                                                                                disgorgement,

restitution, surcharge
restitution, surcharge or
                       or other
                          other basis,
                                basis, and
                                       and additional
                                           additional declaratory and injunctive
                                                      declaratory and injunctive relief;
                                                                                 relief;

       F.
       F.        Awarding Plaintiff
                 Awarding Plaintiff disbursements
                                    disbursements and
                                                  and expenses of this
                                                      expenses of this action,
                                                                       action, including
                                                                               including reasonable
                                                                                         reasonable

attorneys’ and
attorneys' and expert
               expert fees,
                      fees, in
                            in amounts
                               amounts to
                                       to be
                                          be determined by the
                                             determined by the Court,
                                                               Court, pursuant
                                                                      pursuant to
                                                                               to 29
                                                                                  29 U.S.C.
                                                                                     U.S.C.

§ 1132(g);
§ 1132(g); and
           and

       G.
       G.        Granting such
                 Granting such other
                               other and
                                     and further
                                         further relief as is
                                                 relief as    just and
                                                           is just and proper
                                                                       proper in
                                                                              in light of the
                                                                                 light of the evidence.
                                                                                              evidence.




Dated: July
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            7, 2022                                /s/
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                                                                                   vice forthcoming)
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